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     IN TH E UNITED STATES D ISTRICT CO URT FO R TH E SO UTH ERN
          DISTRICT O F FLO R IDA W EST PA LM BEAC H D IVISION

                                  CASE NO .12-80364-C 1V-                          ON
                                                              FILED by.        D.C.
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STATE OF FLORIDA,EX RELATIONE                   )                       ,
                  JOl-lN KORM AN                )                MX 3C C12
                         Relator,               )
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                                  ) clvllzRIGHTS1983W OLATION
AUR OM     LO AN SERVIC ES LLC ;  )          FORGERY
OFFICE oF cEq ANo PRES oF AtrRon ;)            U SUR Y
Atlltolu BANK Fss;                )      CIVIL CONSPIM CY
M ERscor HOLDING s,INc;           )       STELLIO NA TIO N
M ORTGAGE ELECTRONIC              )       G TR IN SIC FM UD
REG ISTM TIO N SY STEM S IN C;    )     A TTEM PTED LAR C EW
LEH M AN X S TRUST 2006-119       ) FR AUD U LEN T CO NV ER SIO N
LA SALLE BAN K N.A .asTR USTEE;   )    CONSTRUCTIVE FRAUD
U.S.BA NCO RP assuccessorTRUSTEE; )     W O LATIO N O F FDCPA
A SSO CIA TES LAND TITLE IN C;    )      VIOIUATION O F TCPA
TH EO DO RE SCH ULTZ,lndividual;  )      VIOLATION O F FCRA
LAURA M CCANN Individual;         )    VIOLATIO N O F FD U TPA
CY NTH IA W ALLACE,lndividual;                            M Alt FR A UD
JO ANN REIN,Individual;                                   W IR E FM UD
LAW O FFICE O F DAVID J.STERN P.A.;                        UTTERDQG
DAV ID JAM ES STERN,E squire;                                R.I.C.O.
K ARO L S.PIER CE,Esquire;                          FR AUD U LENT G D UC EM EN T
CA SSAN DM M C INE-RIGA UD,Esquire;                        FAL SE C LAMW
M ISTY BA R N ES,Esquire;                               M O RTG A G E FR AU D
DARLINE DIETZ,Notary;                       )       PRO FESSIONAL NEG IGENCE
JOHN DOE 1- 100;                            )
JANE DOE 1- 100;                            )             D EM A N D FO R JU R Y
                                            )                   TR IA L
                                Defendants. )               Fed.R.CiV.P.38(b)
                                                /


     M O TION FO R LEAV E TO FILE AN AM ENDED CO M PLA INT



KORM AN vAURORA G flt              Page 1 of3
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              Petitioner,JO HN KO         ,pursuantto FederalRulesofCivilProcedtlres,

Rule 15 and l9(a),respectfullyrequestleaveto fileanAmended Complaint,
                                                                    '
              Petitioner5th day ofApril2012,tiled thisAction againstAURORA

LOAN SERV ICES LLC,and others,alleged co-conspiratorsin M ortgage Fraud,

causing a 1983 V iolation,in part.

              Petitioneron the 1Stday ofM ay 2012, fled aM otion to D rop Party

Defendant,LEHM AN BRO THERS BAN K FSB,LEHM AN BROTHER S H OLD ING

IN C,LEHM AN BROTHERS IN C, LEHM AN BROTHERS BAN CORP INC,and

STRU CTURED A SSET SECURITIES CORPOR ATION ,partiesmzderBanknzptcy

protection;

3.            The CourtGRANTED thisM otion 23rdD ay ofM ay,2012       .




4.            Petitioner'sAm ended Com plaintdropsthese aforem entioned party

D efendantsfrom the styleofthiscase.

5.            Petitionerhereinafterjoinsan indispensibleparty,STATE OF FLORIDA,
whereasin thatperson'sabsence,the Courtcannotaccord completereliefam ong

existing parties,appearing ex rel.

6.            AUROM      LOAN SERVICES LLC eta1..have aFected m any liveswithin

the State ofFlorida,using the JudicialSystem to pillage.

7.            StateofFloridaand itsInhabitantsisthetrueinjuredparty,JOI-
                                                                       lN
KORM AN (hereinafterKtRelator').


KORM AN v AURORA & a1.                 Page 2 of3
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 8.           FederalRule ofCivilProcedure 15 statesthata party m ay am end a

 pleading once asam atterofcourse atany time before aresponsive pleading isserved                                                                                                     .




 9.           Gûttleaveshallbefreely given whenjusticesorequires''ln Fom an v.                                                          .
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Davis,371U.S.178 (1962$                                                                                 ->-Ms               ,n.;'
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                                                                                                   Boca Raton 33486
                                                                                                    Florida U .S.A .
                                                                                    (561)393-0773
                                                                               kormanzool@ comcast.net
                           CERTIFICATE O F SER VICE
TH E UND ERSIG NED H EREBY CERTIFIES thatatnle and correctcopy ofhereof
hasbeen forwarded,viafirstclassU S.M ail,to Steven Ellison, Esquire,with the 51711
                                   .



ofBroad and Cassel,OneN orth Clem atisStreet. Suite 500,W estPalm Beach Florida
33401,on this30thday ofM ay, 2012.

                                                                   John K orm an
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KORM AN v AUROM d aI.                  Page 3 of3
